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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

  UNITED STATES OF AMERICA,                            )
                                                       )
                                Plaintiff,             )
                                                       )
                           v.                          )     No. 1:11-cr-00191-SEB-DKL
                                                       )
  MICHAEL FREDETTE,                                    ) -05
                                                       )
                                Defendant.             )

                                              ORDER

                                                  I.

         This matter is before the Court on the Defendant’s Motion for Compassionate Release

  pursuant to the First Step Act of 2018 [Dkt. 832]. Pursuant to General Order, the Office of the

  Indiana Federal Community Defenders has been appointed to represent any defendant previously

  determined to have been entitled to appointment of counsel, or who was previously represented by

  retained counsel and is presently indigent, to determine whether that defendant may be eligible for

  compassionate release from incarceration in accordance with Section 603 of the First Step Act of

  2018. Accordingly, the Court appoints the Indiana Federal Community Defender’s Office to

  appear for the Defendant for this purpose. The Indiana Federal Defender’s Office shall file an

  appearance within 7 days of the date of this Order. Should the Indiana Federal Community

  Defender be unable to represent a defendant bringing a motion under Section 603, substitute

  Criminal Justice Act counsel may seek leave to appear on defendant’s behalf pursuant to 18 U.S.C.

  § 3006A(c) (representation may be furnished for financially eligible persons in “ancillary matters

  appropriate to the proceedings”).
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                                                II.

         Pending the counsel’s review and analysis of the Defendant’s eligibility for compassionate

  release pursuant to the First Step Act of 2018, and to allow counsel to communicate with the

  Defendant regarding the attorney-client relationship, this matter is stayed. Proceedings will

  resume, and the stay will be lifted, when counsel files an Amended Motion for Compassionate

  Release on the Defendant’s behalf, a Stipulation to Reduction of Sentence is filed, or the Court

  grants counsel’s motion to withdraw from the Defendant’s case.

         IT IS SO ORDERED.



                 10/23/2019
         Date: ________________                       _______________________________
                                                      SARAH EVANS BARKER, JUDGE
                                                      United States District Court
                                                      Southern District of Indiana


  Distribution:

  Counsel of Record via CM/ECF

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